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Complaint Synopsis ~ 2:19-mj-00248-JHR''.))..)°
_ RESEND! FILED

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Name: | Eric Mercado —
Nd AUG -5 Pw IT
| Address: | Lowell, Massachusetts
(City & State Only)
| DEPUTY CLERK
LL _ ee _ a _
Year of Birth/Age: 1 1987/32 y.o.
Violations: ' Count 1: Conspiracy to Commit Hobbs Act Robbery,
in violation of 18 U.S.C. § 1951{a).
' Penalties: —_ Count I: Imprisonment of not more than 20 years.
(18 U.S.C. § 195]1(a)), a fine not to exceed $250,000 |
(18 U.S.C. § 3571(b)(3), or both.
This is a Class C felony pursuant to 18 U.S.C. §
3559(a)(3).
| Supervised Release: — Count 1: Not more than three years. 18 U.S.C. §
3583(b)(2).
pe med
Maximum Term of Imprisonment for Count 1: Not more than two years (18 U.S.C. §
Violation of Supervised Release: 3583(e)(3)).

Maximum Add’l Term of Supervised | Count 1: Three years less any period of

 

 

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Release for Violation of Supervised | imprisonment imposed upon revocation of
Release: supervised release. 18 U.S.C. § 3583(h).
 Defendant’s Attorney: - - _

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Primary Investigative Agency and Case | FBI; TFO Kyle Kassa

 

Agent Name:

+ = —— ee
Detention Status: Warrant requested
Foreign National: | No |

Foreign Consular Notification Provided: | N/A

County: "| York ]
|

 

 
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AUSA:

Daniel J. Perry

 

Guidelines apply? Y/N

 

Victim Case:

Yes

Yes

 

| Corporate Victims Owed Restitution:

Assessments:

 

No

$100 per count
